  Case 19-20013    Doc 37    Filed 09/21/20 Entered 09/21/20 13:40:21          Desc Main
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                                                        FILED IN THE
                                                      US BANKRUPTCY COURT
                                                       DISTRICT OF WYOMING
David L Miller-WY# 7-5951
P.O. Box 9 (117 W 200 S)                              2020 SEP 21 PH I: 3 I
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                  IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF WYOMING


 In re                                               Bankruptcy No. 19-20013
 TERENCE KEYWORTH,                                          Chapter 7
           Debtor                                    Judge Cathleen D. Parker



                         DEPOSIT OF UNCLAIMED FUNDS


     David L. Miller, the duly-appointed and acting Chapter 7 Trustee of the above-
named debtor represents to the Court that:

        ../   A     The following check(s) was/were issued to the creditor(s) listed
                    below in the amount(s) listed. The check(s) was/were not cashed,
                    and subsequently returned to the Trustee, and the Trustee stopped
                    payment on or voided said check(s), and/or
        __ B        The check listed below represents a small dividend payable to the
                    court pursuant to Bankruptcy Rule 3010.

 CHECK#       CREDITOR & ADDRESS (LAST KNOWN)                       CHECK AMT.
              FedLoan Servicing
 1007                                                               $5,619.41
              PO Box 530210
              Atlanta, GA 30353

      A check in the amount of $5,619.41 representing said funds is payable to the U.S.
Bankruptcy Court, and is attached hereto.

DATED this __f'd_day of September, 2020
                                                         hs7------
                                                     DAVID L. MILLER
                                                     Chapter 7 Trustee
